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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov


                                                   Filed: June 11, 2024

Mr. James J. Vilt Jr.
Western District of Kentucky at Louisville
601 W. Broadway
Suite 106 Gene Snyder U.S. Courthouse
Louisville, KY 40202-2249

                      Re: Case No. 24-5511, Honorable Order of KY Colonels, Inc. v. Kentucky Colonels Intl, et al
                          Originating Case No. : 3:20-cv-00132

Dear Clerk,

   The Defendant has a motion pending in your court for leave to proceed in forma
pauperis. Until pauper status is determined, we can take no further action in this case.

   Please bring this matter to the attention of Judge Jennings, the district judge who rendered the
judgment in this case, so that the record may be supplemented with an order that certifies
whether the appeal may go forward in forma pauperis.

   Your attention to this matter is appreciated.

                                                   Sincerely yours,

                                                   s/Roy G. Ford
                                                   Case Manager
                                                   Direct Dial No. 513-564-7016
